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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No.10-24008-CIV-UNGARO/TORRES

   BOOKIT.COM, INC.,

   Plaintiff,

           vs.

   USA BOOK IT, LLC., et al.,

   Defendants.
   _____________________________________/

                  [PROPOSED] ORDER GRANTING AGREED AND JOINT MOTION
                              FOR CONFIDENTIALITY ORDER

           The Court having considered the Agreed and Joint Motion For Confidentiality Order filed

   by the parties is of the opinion that it should be GRANTED.

           IT IS THEREFORE ORDERED that the Confidentiality Order attached as Exhibit 1 to

   the Agreed and Joint Motion for Confidentiality Order and Memorandum of Law in Support

   shall hereby govern the disclosure of information and documents in this proceeding.

           So ORDERED and SIGNED this ______ day of ______________, 2011.




                                                      UNITED STATES DISTRICT JUDGE




   {WP770369;1}
